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         23-1221
                            IN THE


United States Court of Appeals
               FOR THE SECOND CIRCUIT

                d
          DR . LORI A. BRIGHTMAN , AN INDIVIDUAL ,

                         —against—
                                                    Plaintiff-Appellant,


  IN MODE LTD ., A FOREIGN LIMITED LIABILITY CORPORATION ,
                                                   Defendant-Appellee,
 DOES 1-10, INCLUSIVE , ROE CORPORATIONS 11-20, INCLUSIVE ,
                                                            Defendants.

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK




      REPLY BRIEF FOR PLAINTIFF-APPELLANT




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                                INTRODUCTION

      In its Brief on Appeal (the “Opposition”), Defendant-Appellee InMode Ltd.

relies primarily upon a Forum Selection Clause found in the 2010 Option Award

Agreement (JA91-94) (the “Award Agreement”) and referenced by the 2010 Notice

of Stock Option Award (JA88-89) (the “Notice”). In her Opening Brief, Dr.

Brightman explained why this Forum Selection Clause was not enforceable because

(1) there was no consideration to modify the 2009 Agreement pursuant to which Dr.

Brightman conducted the 2009 clinical trial (the “First Agreement” or “2009 Clinical

Trial Agreement”) and (2) Defendant fraudulently induced Dr. Brightman to sign

the 2010 Notice and Award Agreement. (Opening Brief, pp. 14-25). Moreover, the

Opposition simply fails to refute the non-enforceability of the said clause. As such,

Court must reverse the District Court decision to dismiss the First Amended

Complaint (“FAC”) pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(3)

because the Forum Selection Clause does not apply.

      The First Amended Complaint (“FAC”) alleged that Defendant breached the

2009 Clinical Trial Agreement. The FAC also alleged that Defendant had breached

two other agreements Defendant had made with Dr. Brightman. One of these

agreements related to services that Dr. Brightman performed with respect to

Defendant’s RFAL product (the “Second Agreement” or the “RFAL Agreement”).

The other, which was entered into in 2011, related to additional service that Dr.

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Brightman performed to assist Defendant with its Fractora product (the “Third

Agreement” or the “Fractora Agreement”).         Nowhere in the Opposition does

Defendant ever dispute that Dr. Brightman performed the services required by these

two Agreements, yet Defendant insists that Dr. Brightman is not entitled to the stock

options it promised in return.

      For the reasons discussed below, dismissal was improper and this Court must

reverse the District Court’s decision to dismiss the First Amended Complaint.

                                  ARGUMENT

      A.     Dr. Brightman did not sign a document that modified the
             2009 RFAL Agreement or the 2011 Fractora Agreement to
             include a Forum Selection Clause.

      In her Opening Brief, Dr. Brightman explained why the 2010 Notice

constituted a material modification to the First Agreement that was not enforceable

for lack of consideration. (Opening Brief, pp, 15-16). Defendant contends that no

consideration was required to modify the First Agreement and add the Forum

Selection Clause under a statutory provision, New York General Obligations Law §

5-1103. (Appellee’s Brief, pp. 17-19). Defendant further argues that Dr. Brightman’s

signing the written 2010 Notice and the 2010 Award Agreement “obviates the need

for any additional consideration [to add the Forum Selection Clause].” (Appellee’s

Brief, p. 18). As Dr. Brightman’s Opening Brief explains, the addition of the Forum

Selection Clause required consideration because it was a significant enough

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modification to constitute a new agreement and because Dr. Brightman had already

completed her performance under the 2009 Clinical Trial Agreement. However,

Defendant does not contend Dr. Brightman executed similar writings to modify the

2009 RFAL Agreement or the 2011 Fractora Agreement even despite there is no

consideration. And since a written modification does not exist, Section 5-1103 does

not apply.

      The Opposition fails to demonstrate that Dr. Brightman received the necessary

additional consideration for the modification of the 2009 RFAL Agreement and

2011 Fractora Agreement. Therefore, this Court should find that Defendant has

failed to show that there is a binding modification of the Second and Third

Agreements to include a Forum Selection Clause. Accordingly, this Court should

minimally reverse the dismissal of the breach of contract claims related to the 2009

RFAL Agreement and the 2011 Fractora Agreement.

      B.      This Court should reverse the dismissal of all of Dr.
              Brightman’s claims because the 2009 and 2011 Agreements
              did not include a Forum Selection Agreement.

      In her Opening Brief, Dr. Brightman explained why the District Court

improperly concluded that the Second and Third Agreements were subject to the

Forum Selection Clause in the 2010 Notice and Award Agreement. (Opening Brief,

pp. 25-28). Defendant contends that the Forum Selection Clause from the 2010

Notice and Award Agreement applies because (a) all of Defendant’s stock options

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arose out of the 2008 Option Plan and (b) Dr. Brightman’s claims “arise out of or

relate to the award of Defendant’s stock options.” (Appellee’s Brief, p. 28) (cleaned

up).

       Dr. Brightman never signed the 2008 Option Plan, and it is not an agreement

that she made with Defendant. The Award Agreement does expressly state that it

incorporates the 2010 Notice and the 2008 Option Plan by reference. (Award

Agreement, ¶ 1, JA91). The 2010 Notice also expressly states that it is subject to

Award Agreement and the 2008 Option Plan. (Notice, JA88). Both the Award

Agreement and the Notice are identified with the same Award Number (20100412).

(Notice, JA88 and Award Agreement, JA91). The Award Agreement further

contains an integration clause, which provides that the Notice, the Award Agreement

and the 2008 Plan “constitute the entire agreement of the parties with respect to the

subject matter hereof. . . .” (Award Agreement, ¶ 11, JA93).

       The critical question, then, is what is the “subject matter hereof”. Reading

these three documents together, the only reasonable conclusion is that the subject

matter is the award of 7,000 shares of stock pursuant to the 2009 Clinical Trial

Agreement. This award of 7,000 shares1 is the one specifically referenced by Notice.



1
  Notably, the Notice erroneously refers to 7,000 shares instead of the 7,500 shares
included in the April 9, 2009 E-Mail agreement performed by Dr. Brightman
before the Notice was ever presented.

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(Notice, JA88). Moreover, the timing of the issuance of the Notice is consistent with

its being related to the 2009 Clinical Trial Agreement, which had been completed

by the date of issuance.

      However, if Defendant is correct and the Notice is enforceable, then it applies

to the 2009 Clinical Trial Agreement. But, there is no reference whatsoever in the

Notice or the Award Agreement to either the RFAL Agreement or the Fractora

Agreement. Therefore, these two Agreements are outside the “subject matter” of the

Notice and Award Agreement. As a result, while the phrase “any dispute” may

include2 all claims related to 2010 Notice or 2009 Clinical Trial Agreement, the

phrase “any dispute” does not encompass those related to the RFAL or Fractora

Agreements.

      Defendant contends that its 2008 Option Plan (JA 96-108) requires that all

stock options be made by a signed writing. (Appellee’s Brief, p. 10). Even if the

2008 Option Plan is incorporated into 2009 Clinical Trial Agreement by the 2010

Notice and Award Agreement, Dr. Brightman and Defendant did not enter into a

similar agreement to incorporate the 2008 Option Plan into the 2009 RFAL

Agreement or the 2011 Fractora Agreement. Accordingly, Dr. Brightman never

agreed that the 2008 Stock Option Plan affected these two Agreements. Therefore,



2
 As explained below, any dispute also does not encompass disputes that are not
based upon the contractual language of the 2009 Clinical Trial Agreement.
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its provisions do not require that stock options to Dr. Brightman be in writing.

      Moreover, under New York law, an agreement for the sale of options is not

required to be in writing. See UCC 8-113(a); Petkanas v. Petkanas, 2021 NY Slip

Op. 00581, ¶¶ 1-2, 191 A.D.3d 708, 709, 140 N.Y.S.3d 586, 588 (2021). Without

writings like the 2010 Notice and Award Agreement, Defendant does not have a

legal basis for establishing that all stock options to Dr. Brightman must be in writing.

More importantly, Defendant’s failure to issue a Notice and Award Agreement with

respect to the other two agreements does not prevent the enforcement of the other

two option agreements under New York law.

      Therefore, this Court should find that Dr. Brightman never agreed that the

RFAL and Fractora Agreements were subject to the 2008 Plan or the Award

Agreement. As a result, it should further conclude that the Forum Selection Clause

does not apply to these Agreements and reverse the decision to dismiss the breach

of contract claims related to them.

      C.     The Forum Selection Clause does not govern the venue for
             the quasi-contract and tort claims that were alleged by Dr.
             Brightman.

      In her Opening Brief, Dr. Brightman explained why the Forum Selection

Clause did not apply to the quasi-contract and tort claims that she alleged in the FAC.

(Opening Brief, pp. 25-28). In response, Defendant argues that the Forum Selection

Clause “broadly applies to ‘any suit arising out of or relating to the [2010] Notice,

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the [Option] Plan, of this [2010] Agreement.’” (Appellee’s Brief, p. 28) (alterations

in original).

       Dr. Brightman’s Third Cause of Action is for Unjust Enrichment while her

Fourth is for Fraud. (FAC, pp. 14-16, JA 42-43). Neither claim is dependent upon

the existence or application of the 2010 Notice, the Option Plan or the Award

Agreement. It is undisputed that Dr, Brightman did significant additional work for

Defendant after the 2009 Clinical Trial was concluded. The 2011 Fractora

Agreement was entered into after the 2010 Notice was issued. Dr. Brightman’s

complete performance of her contractual obligations under that Agreement occurred

after the 2010 Notice was issued. Temporally, then, neither the 2011 Fractora

Agreement, its performance by Dr. Brightman or its breach “arise out of or are

related to” the 2010 Notice. Therefore, the Forum Selection Clause does not apply

to her Unjust Enrichment and Fraud Claims related to the 2011 Fractora Agreement.

       Similarly, the majority of the work performed by Dr. Brightman with respect

to the RFAL Agreement was performed after the 2010 Notice was issued.

Accordingly, neither the RFAL Agreement nor its performance by Dr. Brightman

“arise out of or are related to” the 2010 Notice. Therefore, Dr. Brightman’s claims

related to Defendant’s breach of the RFAL Agreement are not subject to the Forum

Selection Clause.

       As such, this Court should reverse the decision to dismiss Dr. Brightman’s

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quasi-contract and tort claims because the Forum Selection Clause does not apply.

      D.     Even if Dr. Brightman did not raise some of her Arguments
             below, this Court should exercise its discretion and consider
             them because they are purely legal arguments that can be
             resolved based upon the plain text of documents that
             Defendant contends controls the outcome of this Appeal.

      Defendant argues that this Court should not consider Dr. Brightman’s

arguments about the applicability of the 2010 Notice to the 2009 RFAL Agreement

and the 2011 Fractora Agreement because Dr. Brightman is raising them for the first

time. (Appellee’s Brief, pp. 25-28). While Defendant’s recitation of the general rule

that this Court should not consider new arguments on appeal is accurate, this Court

may exercise discretion. Id. Specifically, this Court may consider a new argument

“to avoid a manifest injustice or where the argument presents a question of law and

there is no need for additional fact-finding.” Sniado v. Bank Aus. Ag., 378 F.3d 210,

213 (2d Cir. 2004).

      Contrary to Defendant’s contention, the case law cited in the Opposition with

respect to the general rule does not apply here because they lack the relevant

exceptions from that rule. For example, in Wal-Mart Stores, Inc. v. Visa USA Inc,

396 F.3d 96, 124 n. 29 (2d Cir. 2005), this Court refused to consider a challenge that

the appellant tried to raise for the first time on appeal regarding the amount of

attorney fees that class action counsel should receive. Determining the appropriate

attorney fee for class counsel is a complicated and fact intensive inquiry that requires

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the court to apply a multi-part test and may require an evidentiary hearing. See, e.g.,

In re American Bank Note Holographics, 127 F. Supp. 2d 418, 430-432 (S.D.N.Y.

2001) (summarizing different methodologies for determining attorney fees in class

actions). Therefore, whether the lower court’s fee award was appropriate would have

required significant additional fact finding, and this Court properly refused to

consider it.

      In this case, however, Dr. Brightman raises pure legal questions that may be

resolved simply by reviewing the text of the FAC and the documents that Defendant

filed with the District Court and now contends control the outcome of this appeal.

For example, Defendant contends that Dr. Brightman’s argument explaining why

the Forum Selection Clause does not apply to the RFAL Agreement or the Fractora

Agreement is a new argument on appeal. Even if that argument was not fully raised

and briefed below, Dr. Brightman’s argument is based upon the text of the 2010

Notice and Award Agreement. Both documents are already part of the record.

Therefore, no additional fact finding is necessary to consider this issue.

      Moreover, Defendant not only raised issues regarding the scope of the Forum

Selection Clause, but it has also already briefed them, both in this Court and in the

lower court. As a result, there is no prejudice to Defendant if this Court exercises its

discretion and considers the merits of the Defendant’s arguments regarding the scope

of the Forum Selection Clause. Finally, if the Forum Selection Clause does not apply

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to the 2009 RFAL Agreement, the 2011 Fractora Agreements or Dr. Brightman’s

tort claims, it would be manifestly unjust to require her to litigate these claims in

another country and under another country’s laws.

      Accordingly, even if this Court finds that Dr. Brightman did not completely

raise these issues below, this Court should exercise its discretion and review her

arguments regarding the scope of the Forum Selection Clause because no further fact

finding is required, there is no prejudice to Defendant because it raised the issue of

the scope of this clause and there would be a manifest injustice in forcing Dr.

Brightman to litigate these claims in a foreign forum when she never expressly

agreed to do so. Therefore, this Court should consider the scope of the Forum

Selection Clause and find that it does not include Dr. Brightman’s breach of contract

claims regarding the RFAL and Fractora Agreements or the quasi-contact and tort

claims.



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                CONCLUSION AND RELIEF REQUESTED

      This Court should reverse the District Court decision to grant Defendant’s

Motion to Dismiss.

Dated:      December 28, 2023
            New York, New York



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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Fed. R. App. P. 32(a), that according to the word

count feature of the word processing program used to prepare this brief, the brief

contains 2,314 words, is proportionately spaced, and complies with the type-face

requirements and length limits of Rule 32(a)(5)-(7) and Local Rule 32.1.

Dated:      December 28, 2023
            New York, New York


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